                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )         No. 3:23-CR-52
                                                 )
       v.                                        )         JUDGES CRYTZER / MCCOOK
                                                 )
DEREK LOGAN BLALOCK,                             )
                                                 )
               Defendant.                        )

                                  NOTICE OF FORFEITURE

       Notice is hereby given that the Honorable Katherine A. Crytzer, United States District

Judge for the Eastern District of Tennessee, entered an Agreed Preliminary Order of Forfeiture

[Doc. 23] against Defendant, Derek Logan Blalock, on May 5, 2023, condemning and forfeiting

Defendant’s interest in the following properties to the United States:

       (a)     Thirteen (13) Machinegun Conversion Devices, seized from Defendant
               on or about February 7, 2023, at 2938 Sunset Avenue, Knoxville,
               Tennessee;

       (b)     Glock, Model 19, 9mm pistol, SN: BGFW470, seized from Defendant on
               or about February 7, 2023, at 2938 Sunset Avenue, Knoxville,
               Tennessee;

       (c)     Anderson Manufacturing, Model AM-15, multi-caliber pistol, SN:
               22052618, seized from Defendant on or about February 7, 2023, at 2938
               Sunset Avenue, Knoxville, Tennessee;

       (d)     39 Rounds other assorted .556 cal. Ammunition; and

       (e)     76 Rounds Tula Cartridge Works - Russia .762 cal. Ammunition, seized
               from Defendant on or about February 7, 2023, at 2938 Sunset Avenue,
               Knoxville, Tennessee.

       (hereinafter, the “properties”)




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        You are hereby notified that the United States intends to dispose of the properties in such

manner as the United States Attorney General may direct.

        Pursuant to 21 U.S.C. § 853(n), as incorporated by 18 U.S.C. § 924(d) and 28 U.S.C.

§ 2461(c), if you have a legal interest in the properties, within THIRTY (30) DAYS of the final

publication of this notice or receipt of written notice, whichever is earlier, you must petition the

United States District Court for the Eastern District of Tennessee for a hearing to adjudicate the

validity of your alleged legal interest in the properties. If a hearing is requested, it shall be held

before the Court alone, without a jury.

        The petition must be signed by the petitioner under penalty of perjury, as established in

28 U.S.C. § 1746, and shall set forth the nature and extent of your right, title, or interest in the

properties, the time and circumstances of your acquisition of the right, title, or interest in the

properties, and any additional facts supporting your claim and the relief sought.

        Pursuant to 21 U.S.C. § 853(n)(2), as incorporated by 18 U.S.C. § 924(d) and 28 U.S.C.

§ 2461(c), neither a Defendant in the above-styled case nor his agent is entitled to file a petition.

        Any hearing on your petition shall, to the extent practicable and consistent with the

interests of justice, be held within thirty (30) days of the filing of your petition. The Court may

consolidate your hearing on the petition with any other hearings requested by any other person

other than the Defendant named above.

        You have the right at the hearing to testify and present evidence and witnesses on your

own behalf, and to cross-examine witnesses who appear at the hearing.

        If you fail to file a petition to assert your right, title, or interest in the above-described

properties, within thirty (30) days of this notice, your right, title, and interest in the properties



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shall be lost and forfeited to the United States. The United States then shall have clear title to the

properties herein described and may warrant good title to any subsequent purchaser or transferee.

       The petition shall be filed with the United States District Court for the Eastern District of

Tennessee at Knoxville at 800 Market Street, 3rd Floor, Knoxville, Tennessee, 37902. A copy of

this petition also shall be served upon the United States to the attention of Daniel P. Nugent,

Assistant United States Attorney, 800 Market Street, Suite 211, Knoxville, Tennessee 37902.

       Please check www.forfeiture.gov for a listing of all judicial forfeiture notices.

                                                       Respectfully submitted,

                                                       FRANCIS M. HAMILTON III
                                                       United States Attorney

                                               By:     s/Miriam S. Johnson
                                                       MIRIAM S. JOHNSON
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